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   6
   7    Counsel for Defendant
        EXPERIAN INFORMATION
   8    SOLUTIONS, INC.
   9
                          UNITED STATES DISTRICT COURT
  10
                        CENTRAL DISTRICT OF CALIFORNIA
  11
  12
  13                                            Case No. 2:21-cv-02345-JFW (MAAx)
         RAVI DHAMEJA,
  14
                       Plaintiff,               Hon. John F. Walter
  15
  16           v.                               STIPULATED PROTECTIVE
                                                ORDER
  17     EXPERIAN INFORMATION
         SOLUTIONS, INC. et al.,
  18
  19                     Defendants.

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   1   1.    PURPOSES AND LIMITATIONS
   2         Discovery in this action is likely to involve production of confidential,
   3   proprietary, or private information for which special protection from public
   4   disclosure and from use for any purpose other than prosecuting this litigation may
   5   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
   6   enter the following Stipulated Protective Order. The parties acknowledge that this
   7   Stipulated Protective Order does not confer blanket protections on all disclosures or
   8   responses to discovery and that the protection it affords from public disclosure and
   9   use extends only to the limited information or items that are entitled to confidential
  10   treatment under the applicable legal principles. The parties further acknowledge, as
  11   set forth in Section 13.3 below, that this Stipulated Protective Order does not entitle
  12   them to file confidential information under seal; Local Rule 79-5 sets forth the
  13   procedures that must be followed and the standards that will be applied when a
  14   party seeks permission from the Court to file material under seal. Discovery in this
  15   action is likely to involve production of confidential, proprietary, or private
  16   information for which special protection from public disclosure and from use for
  17   any purpose other than prosecuting this litigation may be warranted.
  18
  19   2.    GOOD CAUSE STATEMENT
  20         This action is likely to involve trade secrets, customer and pricing lists and
  21   other valuable research, development, commercial, financial, technical and/or
  22   proprietary information for which special protection from public disclosure and
  23   from use for any purpose other than prosecution of this action is warranted. Such
  24   confidential and proprietary materials and information consist of, among other
  25   things, confidential business or financial information, information regarding
  26   confidential business practices, or other confidential research, development, or
  27   commercial information (including information implicating privacy rights of third
  28   parties), information otherwise generally unavailable to the public, or which may be
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   1   privileged or otherwise protected from disclosure under state or federal statutes,
   2   court rules, case decisions, or common law. Accordingly, to expedite the flow of
   3   information, to facilitate the prompt resolution of disputes over confidentiality of
   4   discovery materials, to adequately protect information the parties are entitled to
   5   keep confidential, to ensure that the parties are permitted reasonable necessary uses
   6   of such material in preparation for and in the conduct of trial, to address their
   7   handling at the end of the litigation, and to serve the ends of justice, a protective
   8   order for such information is justified in this matter. It is the intent of the parties
   9   that information will not be designated as confidential for tactical reasons and that
  10   nothing be so designated without a good faith belief that it has been maintained in a
  11   confidential, non-public manner, and there is good cause why it should not be part
  12   of the public record of this case.
  13
  14   3.    DEFINITIONS
  15         3.1.   Action: This pending federal lawsuit.
  16         3.2.   Challenging Party: A Party or Nonparty that challenges the
  17                designation of information or items under this Stipulated Protective
  18                Order.
  19         3.3.   “CONFIDENTIAL” Information or Items: Information (regardless of
  20                how it is generated, stored or maintained) or tangible things that
  21                qualify for protection under Federal Rule of Civil Procedure 26(c), and
  22                as specified above in the Good Cause Statement.
  23         3.4.   Counsel: Outside Counsel of Record and In-House Counsel (as well
  24                as their support staff).
  25         3.5.   Designating Party: A Party or Nonparty that designates information or
  26                items that it produces in disclosures or in responses to discovery as
  27                “CONFIDENTIAL.”
  28         3.6.   Disclosure or Discovery Material: All items or information, regardless
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   1                of the medium or manner in which it is generated, stored, or
   2                maintained (including, among other things, testimony, transcripts, and
   3                tangible things), that is produced or generated in disclosures or
   4                responses to discovery in this matter.
   5         3.7.   Expert: A person with specialized knowledge or experience in a
   6                matter pertinent to the litigation who has been retained by a Party or its
   7                counsel to serve as an expert witness or as a consultant in this Action.
   8         3.8.   In-House Counsel: Attorneys who are employees of a party to this
   9                Action. In-House Counsel does not include Outside Counsel of
  10                Record or any other outside counsel.
  11         3.9.   Nonparty: Any natural person, partnership, corporation, association,
  12                or other legal entity not named as a Party to this action.
  13         3.10. Outside Counsel of Record: Attorneys who are not employees of a
  14                party to this Action but are retained to represent or advise a party to
  15                this Action and have appeared in this Action on behalf of that party or
  16                are affiliated with a law firm which has appeared on behalf of that
  17                party, and includes support staff.
  18         3.11. Party: Any party to this Action, including all of its officers, directors,
  19                employees, consultants, retained experts, In-House Counsel, and
  20                Outside Counsel of Record (and their support staffs).
  21         3.12. Producing Party: A Party or Nonparty that produces Disclosure or
  22                Discovery Material in this Action.
  23         3.13. Professional Vendors: Persons or entities that provide litigation
  24                support services (e.g., photocopying, videotaping, translating,
  25                preparing exhibits or demonstrations, and organizing, storing, or
  26                retrieving data in any form or medium) and their employees and
  27                subcontractors.
  28         3.14. Protected Material: Any Disclosure or Discovery Material that is
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   1                 designated as “CONFIDENTIAL.”
   2          3.15. Receiving Party: A Party that receives Disclosure or Discovery
   3                 Material from a Producing Party.
   4
   5   4.     SCOPE
   6          The protections conferred by this Stipulated Protective Order cover not only
   7   Protected Material, but also (1) any information copied or extracted from Protected
   8   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
   9   and (3) any testimony, conversations, or presentations by Parties or their Counsel
  10   that might reveal Protected Material.
  11          Any use of Protected Material at trial shall be governed by the orders of the
  12   trial judge. This Stipulated Protective Order does not govern the use of Protected
  13   Material at trial.
  14
  15   5.     DURATION
  16          Even after final disposition of this litigation, the confidentiality obligations
  17   imposed by this Stipulated Protective Order shall remain in effect until a
  18   Designating Party agrees otherwise in writing or a court order otherwise directs.
  19   Final disposition shall be deemed to be the later of (1) dismissal of all claims and
  20   defenses in this Action, with or without prejudice; and (2) final judgment herein
  21   after the completion and exhaustion of all appeals, rehearings, remands, trials, or
  22   reviews of this Action, including the time limits for filing any motions or
  23   applications for extension of time pursuant to applicable law.
  24
  25   6.     DESIGNATING PROTECTED MATERIAL
  26          6.1.   Exercise of Restraint and Care in Designating Material for Protection.
  27                        Each Party or Nonparty that designates information or items for
  28                 protection under this Stipulated Protective Order must take care to
                                                   5
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   1                limit any such designation to specific material that qualifies under the
   2                appropriate standards. The Designating Party must designate for
   3                protection only those parts of material, documents, items, or oral or
   4                written communications that qualify so that other portions of the
   5                material, documents, items, or communications for which protection is
   6                not warranted are not swept unjustifiably within the ambit of this
   7                Stipulated Protective Order.
   8                      Mass, indiscriminate, or routinized designations are prohibited.
   9                Designations that are shown to be clearly unjustified or that have been
  10                made for an improper purpose (e.g., to unnecessarily encumber the
  11                case development process or to impose unnecessary expenses and
  12                burdens on other parties) may expose the Designating Party to
  13                sanctions.
  14         6.2.   Manner and Timing of Designations.
  15                      Except as otherwise provided in this Stipulated Protective Order
  16                (see, e.g., Section 6.2(a)), or as otherwise stipulated or ordered,
  17                Disclosure or Discovery Material that qualifies for protection under
  18                this Stipulated Protective Order must be clearly so designated before
  19                the material is disclosed or produced.
  20                      Designation in conformity with this Stipulated Protective Order
  21                requires the following:
  22                (a)   For information in documentary form (e.g., paper or electronic
  23                      documents, but excluding transcripts of depositions or other
  24                      pretrial or trial proceedings), that the Producing Party affix at a
  25                      minimum, the legend “CONFIDENTIAL” to each page that
  26                      contains protected material. If only a portion or portions of the
  27                      material on a page qualifies for protection, the Producing Party
  28                      also must clearly identify the protected portion(s) (e.g., by
                                                   6
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   1                      making appropriate markings in the margins).
   2                            A Party or Nonparty that makes original documents
   3                      available for inspection need not designate them for protection
   4                      until after the inspecting Party has indicated which documents it
   5                      would like copied and produced. During the inspection and
   6                      before the designation, all of the material made available for
   7                      inspection shall be deemed “CONFIDENTIAL.” After the
   8                      inspecting Party has identified the documents it wants copied
   9                      and produced, the Producing Party must determine which
  10                      documents, or portions thereof, qualify for protection under this
  11                      Stipulated Protective Order. Then, before producing the
  12                      specified documents, the Producing Party must affix the legend
  13                      “CONFIDENTIAL” to each page that contains Protected
  14                      Material. If only a portion or portions of the material on a page
  15                      qualifies for protection, the Producing Party also must clearly
  16                      identify the protected portion(s) (e.g., by making appropriate
  17                      markings in the margins).
  18                (b)   For testimony given in depositions, that the Designating Party
  19                      identify the Disclosure or Discovery Material on the record,
  20                      before the close of the deposition, all protected testimony.
  21                (c)   For information produced in nondocumentary form, and for any
  22                      other tangible items, that the Producing Party affix in a
  23                      prominent place on the exterior of the container or containers in
  24                      which the information is stored the legend “CONFIDENTIAL.”
  25                      If only a portion or portions of the information warrants
  26                      protection, the Producing Party, to the extent practicable, shall
  27                      identify the protected portion(s).
  28         6.3.   Inadvertent Failure to Designate.
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   1                      If timely corrected, an inadvertent failure to designate qualified
   2                information or items does not, standing alone, waive the Designating
   3                Party’s right to secure protection under this Stipulated Protective Order
   4                for such material. Upon timely correction of a designation, the
   5                Receiving Party must make reasonable efforts to assure that the
   6                material is treated in accordance with the provisions of this Stipulated
   7                Protective Order.
   8
   9   7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  10         7.1.   Timing of Challenges.
  11                      Any Party or Nonparty may challenge a designation of
  12                confidentiality at any time that is consistent with the Court’s
  13                Scheduling Order.
  14         7.2.   Meet and Confer.
  15                      The Challenging Party shall initiate the dispute resolution
  16                process, which shall comply with Local Rule 37.1 et seq., and with
  17                Section 4 of Judge Audero’s Procedures (“Mandatory Telephonic
  18                Conference for Discovery Disputes”). 1
  19         7.3.   Burden of Persuasion.
  20                      The burden of persuasion in any such challenge proceeding shall
  21                be on the Designating Party. Frivolous challenges, and those made for
  22                an improper purpose (e.g., to harass or impose unnecessary expenses
  23                and burdens on other parties) may expose the Challenging Party to
  24                sanctions. Unless the Designating Party has waived or withdrawn the
  25                confidentiality designation, all parties shall continue to afford the
  26
  27   1
        Judge Audero’s Procedures are available at
  28   https://www.cacd.uscourts.gov/honorable-maria-audero.
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   1                material in question the level of protection to which it is entitled under
   2                the Producing Party’s designation until the Court rules on the
   3                challenge.
   4
   5   8.    ACCESS TO AND USE OF PROTECTED MATERIALS
   6         8.1.   Basic Principles.
   7                      A Receiving Party may use Protected Material that is disclosed
   8                or produced by another Party or by a Nonparty in connection with this
   9                Action only for prosecuting, defending, or attempting to settle this
  10                Action. Such Protected Material may be disclosed only to the
  11                categories of persons and under the conditions described in this
  12                Stipulated Protective Order. When the Action reaches a final
  13                disposition, a Receiving Party must comply with the provisions of
  14                Section 14 below.
  15                      Protected Material must be stored and maintained by a
  16                Receiving Party at a location and in a secure manner that ensures that
  17                access is limited to the persons authorized under this Stipulated
  18                Protective Order.
  19         8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
  20                      Unless otherwise ordered by the Court or permitted in writing
  21                by the Designating Party, a Receiving Party may disclose any
  22                information or item designated “CONFIDENTIAL” only to:
  23                (a)   The Receiving Party’s Outside Counsel of Record, as well as
  24                      employees of said Outside Counsel of Record to whom it is
  25                      reasonably necessary to disclose the information for this Action;
  26                (b)   The officers, directors, and employees (including In-House
  27                      Counsel) of the Receiving Party to whom disclosure is
  28                      reasonably necessary for this Action;
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    1              (c)   Experts of the Receiving Party to whom disclosure is reasonably
    2                    necessary for this Action and who have signed the
    3                    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
    4              (d)   The Court and its personnel, and the jury;
    5              (e)   Court reporters and their staff;
    6              (f)   Professional jury or trial consultants, mock jurors, and
    7                    Professional Vendors to whom disclosure is reasonably
    8                    necessary or this Action and who have signed the
    9                    “Acknowledgment and Agreement to be Bound” (Exhibit A);
   10              (g)   The author or recipient of a document containing the
   11                    information or a custodian or other person who otherwise
   12                    possessed or knew the information;
   13              (h)   During their depositions, witnesses, and attorneys for witnesses,
   14                    in the Action to whom disclosure is reasonably necessary
   15                    provided: (i) the deposing party requests that the witness sign
   16                    the “Acknowledgment and Agreement to Be Bound” (Exhibit
   17                    A); and (ii) the witness will not be permitted to keep any
   18                    confidential information unless they sign the “Acknowledgment
   19                    and Agreement to Be Bound,” unless otherwise agreed by the
   20                    Designating Party or ordered by the Court. Pages of transcribed
   21                    deposition testimony or exhibits to depositions that reveal
   22                    Protected Material may be separately bound by the court
   23                    reporter and may not be disclosed to anyone except as permitted
   24                    under this Stipulated Protective Order; and
   25              (i)   Any mediator or settlement officer, and their supporting
   26                    personnel, mutually agreed upon by any of the parties engaged
   27                    in settlement discussions.
   28
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    1   9.    PROTECTED MATERIAL SUBPOENAED OR ORDERED
    2         PRODUCED IN OTHER LITIGATION
    3         If a Party is served with a subpoena or a court order issued in other litigation
    4   that compels disclosure of any information or items designated in this Action as
    5   “CONFIDENTIAL,” that Party must:
    6         (a)    Promptly notify in writing the Designating Party. Such notification
    7                shall include a copy of the subpoena or court order;
    8         (b)    Promptly notify in writing the party who caused the subpoena or order
    9                to issue in the other litigation that some or all of the material covered
   10                by the subpoena or order is subject to this Stipulated Protective Order.
   11                Such notification shall include a copy of this Stipulated Protective
   12                Order; and
   13         (c)    Cooperate with respect to all reasonable procedures sought to be
   14                pursued by the Designating Party whose Protected Material may be
   15                affected.
   16         If the Designating Party timely seeks a protective order, the Party served with
   17   the subpoena or court order shall not produce any information designated in this
   18   action as “CONFIDENTIAL” before a determination by the Court from which the
   19   subpoena or order issued, unless the Party has obtained the Designating Party’s
   20   permission. The Designating Party shall bear the burden and expense of seeking
   21   protection in that court of its confidential material and nothing in these provisions
   22   should be construed as authorizing or encouraging a Receiving Party in this Action
   23   to disobey a lawful directive from another court.
   24
   25   10.   A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
   26         PRODUCED IN THIS LITIGATION
   27         10.1. Application.
   28                       The terms of this Stipulated Protective Order are applicable to
                                                  11
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    1              information produced by a Nonparty in this Action and designated as
    2              “CONFIDENTIAL.” Such information produced by Nonparties in
    3              connection with this litigation is protected by the remedies and relief
    4              provided by this Stipulated Protective Order. Nothing in these
    5              provisions should be construed as prohibiting a Nonparty from seeking
    6              additional protections.
    7        10.2. Notification.
    8                       In the event that a Party is required, by a valid discovery
    9              request, to produce a Nonparty’s confidential information in its
   10              possession, and the Party is subject to an agreement with the Nonparty
   11              not to produce the Nonparty’s confidential information, then the Party
   12              shall:
   13              (a)      Promptly notify in writing the Requesting Party and the
   14                       Nonparty that some or all of the information requested is subject
   15                       to a confidentiality agreement with a Nonparty;
   16              (b)      Promptly provide the Nonparty with a copy of the Stipulated
   17                       Protective Order in this Action, the relevant discovery
   18                       request(s), and a reasonably specific description of the
   19                       information requested; and
   20              (c)      Make the information requested available for inspection by the
   21                       Nonparty, if requested.
   22        10.3. Conditions of Production.
   23                       If the Nonparty fails to seek a protective order from this Court
   24              within fourteen (14) days after receiving the notice and accompanying
   25              information, the Receiving Party may produce the Nonparty’s
   26              confidential information responsive to the discovery request. If the
   27              Nonparty timely seeks a protective order, the Receiving Party shall not
   28              produce any information in its possession or control that is subject to
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    1                the confidentiality agreement with the Nonparty before a
    2                determination by the Court. Absent a court order to the contrary, the
    3                Nonparty shall bear the burden and expense of seeking protection in
    4                this Court of its Protected Material.
    5
    6   11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    7         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    8   Protected Material to any person or in any circumstance not authorized under this
    9   Stipulated Protective Order, the Receiving Party immediately must (1) notify in
   10   writing the Designating Party of the unauthorized disclosures, (2) use its best
   11   efforts to retrieve all unauthorized copies of the Protected Material, (3) inform the
   12   person or persons to whom unauthorized disclosures were made of all the terms of
   13   this Stipulated Protective Order, and (4) request such person or persons to execute
   14   the “Acknowledgment and Agreement to be Bound” (Exhibit A).
   15
   16   12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   17         PROTECTED MATERIAL
   18         When a Producing Party gives notice to Receiving Parties that certain
   19   inadvertently produced material is subject to a claim of privilege or other
   20   protection, the obligations of the Receiving Parties are those set forth in Federal
   21   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
   22   whatever procedure may be established in an e-discovery order that provides for
   23   production without prior privilege review. Pursuant to Federal Rule of Evidence
   24   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
   25   of a communication or information covered by the attorney-client privilege or work
   26   product protection, the parties may incorporate their agreement in the Stipulated
   27   Protective Order submitted to the Court.
   28
                                                   13
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    1   13.   MISCELLANEOUS
    2         13.1. Right to Further Relief.
    3                      Nothing in this Stipulated Protective Order abridges the right of
    4                any person to seek its modification by the Court in the future.
    5         13.2. Right to Assert Other Objections.
    6                      By stipulating to the entry of this Stipulated Protective Order, no
    7                Party waives any right it otherwise would have to object to disclosing
    8                or producing any information or item on any ground not addressed in
    9                this Stipulated Protective Order. Similarly, no Party waives any right
   10                to object on any ground to use in evidence of any of the material
   11                covered by this Stipulated Protective Order.
   12         13.3. Filing Protected Material.
   13                      A Party that seeks to file under seal any Protected Material must
   14                comply with Local Rule 79-5. Protected Material may only be filed
   15                under seal pursuant to a court order authorizing the sealing of the
   16                specific Protected Material at issue. If a Party's request to file
   17                Protected Material under seal is denied by the Court, then the
   18                Receiving Party may file the information in the public record unless
   19                otherwise instructed by the Court.
   20
   21   14.   FINAL DISPOSITION
   22         After the final disposition of this Action, within sixty (60) days of a written
   23   request by the Designating Party, each Receiving Party must return all Protected
   24   Material to the Producing Party or destroy such material. As used in this
   25   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
   26   summaries, and any other format reproducing or capturing any of the Protected
   27   Material. Whether the Protected Material is returned or destroyed, the Receiving
   28   Party must submit a written certification to the Producing Party (and, if not the
                                                  14
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    1   same person or entity, to the Designating Party) by the 60-day deadline that
    2   (1) identifies (by category, where appropriate) all the Protected Material that was
    3   returned or destroyed and (2) affirms that the Receiving Party has not retained any
    4   copies, abstracts, compilations, summaries or any other format reproducing or
    5   capturing any of the Protected Material. Notwithstanding this provision, Counsel is
    6   entitled to retain an archival copy of all pleadings; motion papers; trial, deposition,
    7   and hearing transcripts; legal memoranda; correspondence; deposition and trial
    8   exhibits; expert reports; attorney work product; and consultant and expert work
    9   product, even if such materials contain Protected Material. Any such archival
   10   copies that contain or constitute Protected Material remain subject to this Stipulated
   11   Protective Order as set forth in Section 5.
   12
   13   15.   VIOLATION
   14         Any violation of this Stipulated Order may be punished by any and all
   15   appropriate measures including, without limitation, contempt proceedings and/or
   16   monetary sanctions.
   17
   18   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

   19
   20   Dated: October 11, 2021                        /s/ Cory M. Teed
                                                       Cory M. Teed
   21                                                  Attorney for Plaintiff Ravi Dhameja
   22
        Dated: October 11, 2021                        /s/ Matthew R. Fox
   23                                                  Matthew R. Fox
   24                                                  Attorney for Defendant Experian
                                                       Information Solutions, Inc.
   25
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                                                  15
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    1   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                        RDER
                                           RED.

    2
    3   Dated:   10/12/2021
                                                 Maria
                                                  ariaa A.
                                                        A. Audero
                                                           Audero
    4                                            United
                                                  nitedd States Magistrate Judge
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    1                                           EXHIBIT A
    2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3           I,                                  [full name], of
    4                           [address], declare under penalty of perjury that I have read in its
    5   entirety and understand the Stipulated Protective Order that was issued by the
    6   United States District Court for the Central District of California on
    7   [date] in the case of
    8   [case name and number]. I agree to comply with and to be bound by all the terms
    9   of this Stipulated Protective Order, and I understand and acknowledge that failure
   10   to so comply could expose me to sanctions and punishment in the nature of
   11   contempt. I solemnly promise that I will not disclose in any manner any
   12   information or item that is subject to this Stipulated Protective Order to any person
   13   or entity except in strict compliance with the provisions of this Stipulated Protective
   14   Order.
   15           I further agree to submit to the jurisdiction of the United States District Court
   16   for the Central District of California for the purpose of enforcing the terms of this
   17   Stipulated Protective Order, even if such enforcement proceedings occur after
   18   termination of this action. I hereby appoint                                 [full name]
   19   of                                                       [address and telephone number]
   20   as my California agent for service of process in connection with this action or any
   21   proceedings related to enforcement of this Stipulated Protective Order.
   22
   23   Signature:
   24   Printed Name:
   25   Date:
   26   City and State Where Sworn and Signed:
   27
   28
                                                     17
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    1                             CERTIFICATE OF SERVICE

    2         I hereby certify that on October 11, 2021, the foregoing document was filed
    3   and served electronically using the CM/ECF system, and served by U.S. Mail on
    4   anyone unable to receive a notice of electronic filing.
    5
                                         /s/ Matthew R. Fox
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